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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                  Eastern Division

Dongguan Jiashi Display Products Co., Ltd., et al.
                                                        Plaintiff,
v.                                                                       Case No.:
                                                                         1:24−cv−12342
                                                                         Honorable
                                                                         LaShonda A. Hunt
Shaopeng Guo
                                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 10, 2025:


        MINUTE entry before the Honorable LaShonda A. Hunt: Due to recent
developments in the case, the Court questions whether Plaintiffs have sufficiently alleged
a basis for subject−matter jurisdiction. Based on the statement that "Plaintiffs' listings of
the Vacuum Stand Products have been reinstated by Amazon" [25], it appears that
Plaintiffs' standing to assert their federal claims may have dropped out of the case and it is
unclear whether the requirements for diversity jurisdiction are satisfied for the remaining
state law claim. "Because standing is an essential ingredient of subject−matter
jurisdiction, it must be secured at each stage of the litigation." Bazile v. Fin. Sys. of Green
Bay, Inc., 983 F.3d 274, 278 (7th Cir. 2020)) (citing Lujan v. Defs. of Wildlife, 504 U.S.
555, 561 (1992)). Accordingly, by 1/24/25, Plaintiffs must file a jurisdictional statement
explaining the basis for jurisdiction over the claims asserted in the Complaint [1]. In lieu
of filing a jurisdictional statement, by the same date, Plaintiff may file an amended
complaint or notice of voluntary dismissal. Because there is no pending request for relief,
no executed summons has been filed, and Defendant previously appeared only for the
limited purpose of objecting to personal jurisdiction in connection with Plaintiffs'
now−withdrawn motion for entry of a temporary restraining order, the Court declines to
address the issue of personal jurisdiction at this time. Defendant may renew any
objections to personal jurisdiction at a later date, if appropriate. Mailed notice (gel,)




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